Case 1:02-cv-01299-.]DT-STA Document 34 Filed 07/12/05 Page 1 of 3 Page|D 40

! :'~` Fi*~’ s o
IN THE UNITED STATES DISTRICT COURT H““D '
FOR THE WESTERN DISTRICT OF TENNESS k

 

 

EASTERN DIVISION *’ »!UL l 3 PH ’~f»= 351

GUIDEONE TAYLOR BALL )
CONSTRUCTION SERVICES, INC., )
)
Plaimiff, )
)

v. ) NO.= 02-1299-T-An
)
RICKY HURT, et al., )
)
Defendants. )

ORDER To SHoW CAUSE

 

Pursuant to the Order entered on June 17, 2005 Counsel were directed to confer regarding
proposed deadlines and a new trial date and to Submit a proposed Amended Scheduling Order
consistent with the Court’s normal Scheduling Order within 15 days of entry of the Order.

Counsel for the parties7 Mr. Williarn M. Jeter, Mr. Ten‘y Abernathy and Mr. Stephen C.
Kennedy, failed to provide the Coult with a proposed Amended Scheduling Order as ordered by
the Court.

Therefore, a Hearing in this matter is set for MONDAY, JULY 25, 2005 at 11:00 A.M.
in the Magistrate’s Courtroom, 4th Floor, United States Courthouse, 111 S. Highland, Jackson,

Tennessee. Counsel are ORDERED to show cause why this Coult should not assess sanctions

This document entered on the docket sheet ln compliance

‘~ D--'f_» sa anew 79 tap FncP on 01 -[£ - 0 umw

Case 1:02-cv-01299-.]DT-STA Document 34 Filed 07/12/05 Page 2 of 3 Page|D 41

against them for their failure to follow the orders of the Court.

fsia @lu

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE ]UDGE

Dated: Qde/\I /Zi lilly
U

IT IS SO ORDERED.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:02-CV-01299 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Terry Abernathy
ABERNATHY LAW FIRM
P.O. Box 441

Selmer7 TN 38375

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

l\/lemphis7 TN 38103

Stephen C. Kennedy
DEUSNER & KENNEDY
1 17 W. Court Avenue
Selmer7 TN 38375--064

Honorable .l ames Todd
US DISTRICT COURT

